Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 1 of 17 PageID #:
                                    2045




                       Exhibit 4
Case 1:18-cv-02192-HG-PK       Document 86-4 Filed 04/04/22   Page 2 of 17 PageID #:
                                        2046



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

        -----------------------------X
                                     Docket#
        IN THE MATTER OF:       :    04-cv-2799(NG)(VVP)
                                     :    04-cv-5449(NG)(VVP)
                                     :    04-cv-5564(NG)(VVP)
                                     :    05-cv-365 (NG)(VVP)
        ARAB BANK, PLC.,             :
                                     :    U.S. Courthouse
                                     :    Brooklyn, New York
                                     :
                                     :    October 11, 2005
        ------------------------------X

                  TRANSCRIPT OF CIVIL CAUSE FOR CONFERENCE
                 BEFORE THE HONORABLE VIKTOR V. POHORELSKY
                       UNITED STATES MAGISTRATE JUDGE

        A    P     P       E      A    R    A     N    C      E   S:

        For Plaintiff Linde
        and Coulter:                            Robert Swift, Esq.
                                                 Gary Osen, Esq.
                                                Steven Steingard, Esq.

        For Plaintiff Litle:                     Mark Werbner, Esq.
                                                James Bonner, Esq.
                                                Noah Nudelman, Esq.

        For Plaintiff Almog
        and Afriat-Kurtzer:                     Michael Elsner, Esq.
                                                Justin Kaplan, Esq.


        For the Defendant:                      Steven Young, Esq.
                                                Randall Fox, Esq.
                                                Leah Campbell, Esq.
                                                Kevin Walsh, Esq.

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Case 1:18-cv-02192-HG-PK    Document 86-4 Filed 04/04/22   Page 3 of 17 PageID #:
                                     2047



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

        Proceedings recorded by electronic sound-recording,
        transcript produced by transcription service




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Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 4 of 17 PageID #:
                                    2048



                                                                                   3
                                    Proceedings

   1               THE CLERK:      Civil Cause for a Status Conference in

   2   04-cv-2799, Linde v. Arab Bank, 04-cv-5449, Litle v. Arab

   3   Bank, 04-cv-5564, Almog v. Arab Bank, 05-cv-365, Coulter v.

   4   Arab Bank and 05-cv-388, Afriat-Kurtzer.

   5               Magistrate Judge Viktor Pohorelsky provided.

   6               THE COURT:      Good morning, please be seated.                 Do

   7   you have a sign in sheet?           We do have a sign in sheet.

   8   Okay, good.     Thank you.

   9               So, Judge Gershon has decided some of the issues

  10   here and so that assists, I think, now in working on what

  11   the scope of discovery is.           Let me address just a couple of

  12   housekeeping matters.

  13               First of all, there's a motion to withdraw that

  14   was made by Winston and Strawn and I take it there's not any

  15   objection to that.        So, I am going to grant that motion and

  16   LeBouf, Lamb has already entered a notice of appearance and

  17   I don't think the lawyers changed, it's just the firm

  18   changed; right?       Am I right bout that?

  19               MR. WALSH:      That's correct, your Honor.

  20               THE COURT:      Okay.    Then there was a stipulation to

  21   adjourn defendant's time to answer complaints in, it looks

  22   like two of the cases.         Yes, I guess I need to so order this




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Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 5 of 17 PageID #:
                                    2049



                                                                                   4
                                    Proceedings

   1   and I guess I'll do that.           It was adjourned until September

   2   30.   So, it's sort of nunc pro tunc; right?

   3               I also note that Judge Gershon referred to a

   4   couple of more cases that were filed; Bennett, I think was

   5   one of them she refers to.

   6               MR. WERBNER:         And Roth.

   7               THE COURT:      And Roth; right.        I presume those have

   8   been assigned to me; am I right about that, along with Judge

   9   Gershon obviously.

  10               MR. WERBNER:       That's a yes, your Honor.           That they

  11   were (inaudible).

  12               THE COURT:      Is anybody here on those cases?

  13               MR. WERBNER:       I am, your Honor.        I am the lawyer

  14   in those two cases.

  15               THE COURT:      Oh, you are?

  16               MR. WERBNER:         Yes, sir.

  17               THE COURT:      Okay.

  18               MR. WERBNER:        Those are just stand alone, one

  19   family but they really for all practical purposes are part

  20   of the Litle case.

  21               THE COURT:      Okay.    And you are Mr. Werbner?

  22               MR. BENNETT:       Mark Werbner.




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Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 6 of 17 PageID #:
                                    2050



                                                                                   16
                                    Proceedings

   1   confident they were but now that I know that the claims, at

   2   least some of the claims are going to survive --

   3               MR. SWIFT:      We -- just going back to the

   4   transcript and your Honor was quite clear that you were wait

   5   -- you said you were looking for some guidance and for the

   6   time being, you were going to just focus on linkage.

   7               THE COURT:      Are those transcripts filed?             They

   8   were.

   9               MR. SWIFT:      I don't know if it's filed.            It's

  10   certainly --

  11               THE COURT:      Okay.    Good.    I ought to probably

  12   consult my own transcripts at some point.                But -- okay.

  13               Mr. Walsh, why -- it does seem to me that

  14   Judge Gershon's opinion opens this up.              It opens up a lot of

  15   activity, certainly I would say at a minimum it seems to me

  16   like the Saudi Committee's entire transactional activity is

  17   fair game --

  18               MR. WALSH:      Well, your Honor, you eluded --

  19               THE COURT:      -- wherever it may have occurred, I am

  20   talking about.

  21               MR. WALSH:      -- a moment ago -- it may indeed be

  22   the case, your Honor, that some what broader discovery




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 7 of 17 PageID #:
                                    2051



                                                                                   17
                                    Proceedings

   1   regarding the Saudi Committee's activity -- this court

   2   initially contemplated as appropriate.

   3               However, the plaintiff's first document demand

   4   which I happen to have before me is some 34 pages long and I

   5   don't think any of the plaintiff's counsel would dispute

   6   that it calls for many documents other than those relating

   7   to the Saudi Committee.

   8               THE COURT:      Yes, I understand and having looked at

   9   it -- so, I am going to revisit the issue.               So, maybe -- I

  10   don't know what the best way to do that is.                Maybe it will

  11   help me to go -- maybe even just go item by item, even today

  12   perhaps.

  13               But it does seem to me like having given -- I'm

  14   told by the plaintiffs that there has been decision now by

  15   foreign authorities.        The Jordanian decision was that they

  16   let you see things except for some --

  17               MR. WALSH:      Yes, indeed.      I --

  18               THE COURT:      -- one individual who is appealing it.

  19   And I presume it's one of the individual whose account is

  20   effected.

  21               MR. WALSH:      That's exactly right. I'm happy to

  22   comment briefly on this, your Honor, because you've heard




              Transcription Plus II                  Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 8 of 17 PageID #:
                                    2052



                                                                                   18
                                    Proceedings

   1   from a number of counsel that the sad fact is that no

   2   transactional records have been produced.

   3               There's essentially one operative order of this

   4   court.    It concerns one account in Jordan and eight accounts

   5   in the Palestinian territories.            We have already informed

   6   the plaintiffs that there are no responsive documents

   7   concerning transactions that touch New York.                 And we have

   8   applied to these two jurisdictions for permission to release

   9   documents.

  10               As your Honor may recall, you initially directed

  11   that application process to be a joint one with plaintiffs.

  12   They chose not to participate.           We've pursued this on our

  13   own and it is proceeding with great expedition.                  The ruling

  14   in Jordan as your Honor noted, permits the bank to disclose

  15   these documents but an appeal has been filed.                 We're advised

  16   that both our initial application as an emergent matter to

  17   the Court of first instance was by appropriate procedure

  18   there ex parte.       And the appeal is an ex parte appeal.

  19               So, we will have more information as to whether

  20   the Court of Appeals in Jordan wishes the further submission

  21   from Arab Bank in the immediate future.               But that is

  22   proceeding quickly because it was presented to the Court of




                Transcription Plus II                Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 9 of 17 PageID #:
                                    2053



                                                                                   19
                                    Proceedings

   1   first instance as an emergent matter.

   2               In the Palestinian territories, we similarly have

   3   obtained a ruling from the Palestinian courts.                  And as your

   4   Honor noted, and as Mr. Swift remarked, that ruling

   5   prohibits Arab Bank at the moment from producing the

   6   documents that were the subject of your Honor's order.

   7               It is our intention to appeal that order because

   8   it is our desire, as we've told this court from the

   9   beginning, to procure the consent and permission of these

  10   governing authorities and to allow the forces of comity to

  11   obtain, so that Arab Bank need not be placed in a position

  12   where it has to consider violation of the laws, especially

  13   to the extent they contain criminal provisions of its home

  14   regulators.

  15               THE COURT:      Okay.

  16               MR. WALSH:      But that's proceeding quickly,

  17   your Honor.     And we submit with regard to documents abroad -

  18   -

  19               THE COURT:      Yes.

  20               MR. WALSH:      -- that are the subject of this

  21   court's order, it makes perfect good sense to allow the

  22   process to play itself out.




              Transcription Plus II                  Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 10 of 17 PageID #:
                                     2054



                                                                                    20
                                     Proceedings

   1                THE COURT:     Okay.    I did want to get reminded

   2   about, it is your position then that at least to the

   3   discovery that was allowed so far, that you've provided all

   4   documents that are in New York, that were -- in other words,

   5   all documents in New York that were in the custody of the

   6   bank in New York regarding --

   7                MR. WALSH:     Regarding the nine accounts that are

   8   the subject of your order.

   9                THE COURT:     Regarding the accounts; right.

  10                MR. WALSH:     That's correct, your Honor, and we've

  11   advised the plaintiffs of that.

  12                THE COURT:     But that's because you have none.

  13                MR. WALSH:     Exactly.

  14                THE COURT:     But you've said that unequivocally.

  15                MR. WALSH:     Yes, that's been said in this court

  16   during the last status conference.

  17                THE COURT:     All right.

  18                MR. WALSH:     And I repeat it, your Honor.

  19                THE COURT:     All right.      So, I've got vigorous

  20   objection from Mr. Werbner here.             What's the story,

  21   Mr. Werbner?        Are you disputing that Mr. Walsh has made that

  22   representation or --




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 11 of 17 PageID #:
                                     2055



                                                                                    21
                                     Proceedings

   1                MR. WERBNER:      No, maybe I misunderstand but in a

   2   document and in a phone call, I was told and counsel was

   3   told that they have 73 -- that they used their Swift

   4   computer system in New York to search by the period we

   5   described regarding anything for the Saudi Committee and

   6   that they had 73 hits.         And they stated that they would

   7   provide those 73 --

   8                THE COURT:     Wait.     But I didn't think I had given

   9   -- I thought that I had limited --

  10                MR. WERBNER:      Let me clarify.

  11                THE COURT:     Okay.

  12                MR. WERBNER:      What your order was in Jordan was 10

  13   accounts or nine accounts but your order --

  14                THE COURT:     No, it was one account in Jordan,

  15   eight in Palestine.

  16                MR. WERBNER:      Exactly.     But we had asked for

  17   irrespective of that process as it was going, what do you

  18   have in New York that relates to the Saudi Committee.

  19                THE COURT:     I know.     But I had said that they

  20   didn't have to do that.

  21                MR. WERBNER:      No, you didn't.        No, you didn't.

  22   They responded and said we have 73 documents and we will




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 12 of 17 PageID #:
                                     2056



                                                                                    84
                                     Proceedings

   1                THE COURT:     They being --

   2                MR. WERBNER:      The bank.

   3                THE COURT:     -- the bank.

   4                MR. WERBNER:      In other words, we have to prove to

   5   the jury's satisfaction both that the entity they were

   6   assisting was this type of entity, namely engaged in

   7   terrorism and that the bank knew that when they

   8   substantially assisted or at least was truly aware of.

   9                THE COURT:     Mr. Walsh?

  10                MR. WALSH:     May I first, as an aside,

  11   your Honor, note that one of the reasons noted by

  12   Judge Gershon in her opinion for ruling as she did was that

  13   there are extensive allegations of knowledge on the part of

  14   the bank by these plaintiffs.            And for that reason, we

  15   continue to await with great expectancy production from

  16   these plaintiffs of documents that reflect the bank's

  17   alleged knowledge.

  18                And to the extent that these --

  19                THE COURT:     Of the activities of --

  20                MR. WALSH:     Of the organizations that are alleged

  21   to be terrorists organizations.            We think it's vital, your

  22   Honor, that that be --




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 13 of 17 PageID #:
                                     2057



                                                                                    85
                                     Proceedings

   1                THE COURT:     When you say alleged to be as

   2   you --

   3                MR. WALSH:     Well, I mean, Mr. Werbner had said --

   4                THE COURT:     -- include those that listed A through

   5   H?

   6                MR. WALSH:     -- that some of these are designated

   7   organizations, others are not.            The burdens of proof that

   8   fall upon the plaintiffs with regard to those that have not

   9   been officially designated are obviously different.                     But the

  10   plaintiffs are alleging that Arab Bank knew that these

  11   organizations both designated and not, and in most cases,

  12   these are front -- alleged front organizations that have

  13   never been designated were known --

  14                THE COURT:     Well, the first four are well known,

  15   aren't they?

  16                MR. WALSH:     Yes, they are, your Honor.

  17                THE COURT:     I mean, as per -- E is, too.             I don't

  18   recognize the last three as -- well, anyway, all right.                           So,

  19   what is your point?

  20                MR. WALSH:     The point is really --

  21                THE COURT:     Are you saying you don't --

  22                MR. WALSH:     -- your Honor --




                Transcription Plus II                Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 14 of 17 PageID #:
                                     2058



                                                                                    86
                                     Proceedings

   1                THE COURT:     You haven't gotten discovery about

   2   whether -- of the documents that show that you knew or your

   3   client knew.

   4                MR. WALSH:     Yes, that form the basis for these

   5   extensive allegations.

   6                THE COURT:     Okay.    But why does that obviate the

   7   need for you to provide the discovery they're asking?

   8                MR. WALSH:     I offered it only as an aside,

   9   your Honor.

  10                THE COURT:     Okay.

  11                MR. WALSH:     But, you know, again --

  12                THE COURT:     All right.      Well --

  13                MR. WALSH:     -- there is a --

  14                MR. WERBNER:      So now we're one and one.

  15                THE COURT:     Yes, I was going to say --

  16                MR. WERBNER:      Okay.

  17                THE COURT:     -- maybe I owe Mr. Werbner one here.

  18                MR. WALSH:     There is a Lebanese account noted here

  19   at the very bottom of the list, your Honor.                 Again, we have

  20   not pursuant to the orderly process that this court has

  21   instituted, made any formal application to the Lebanese

  22   courts and in the case of Lebanon as in the case of Jordan




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 15 of 17 PageID #:
                                     2059



                                                                                    87
                                     Proceedings

   1   and the Palestinian territories, we very much would like to

   2   be acting with the blessing of the local regulators rather

   3   than being put to the hard choice otherwise.

   4                THE COURT:     You mean -- all right.           Well, you

   5   know, we just know where that's going to end up.                   I mean,

   6   for goodness sake.        But I am not going to deny you the

   7   opportunity --

   8                MR. WALSH:     Your Honor, we do have permission in

   9   Jordan --

  10                THE COURT:     I'm not going to deny you the

  11   opportunity to do it but --

  12                MR. WALSH:     We do have permission in Jordan,

  13   your Honor.

  14                THE COURT:     I guess we started out by saying -- I

  15   mean, Mr. --

  16                MR. SWIFT:     Swift.

  17                THE COURT:     -- Mr. Swift said he wanted an order

  18   today and, you know, we may be at a point where I need to do

  19   that.    All right.      I think I've already given an order to a

  20   certain extent like the one that you presented.                  Now, if I

  21   need to get a new one -- anyway, but it seems to me again

  22   though that nine or ten does fall within the scope of




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 16 of 17 PageID #:
                                     2060



                                                                                    88
                                     Proceedings

   1   documents that are -- you know, here I have --

   2                MR. WALSH:     If you look at the full text of

   3   paragraph 10, your Honor, it's exceedingly broad.

   4                THE COURT:     It is broad.

   5                MR. WALSH:     It is --

   6                THE COURT:     It is broad.

   7                MR. WALSH:     It is --

   8                THE COURT:     I think that somehow there has to be a

   9   connection to the case.          I mean, basically to the extent of

  10   -- I am not sure that ordering every document is -- the

  11   Saudi Committee is one thing, it seems to me.                  That one is

  12   easier to justify saying every document that you're entitled

  13   to.   This is a little bit harder to justify, every document

  14   relating to every activity that these organizations are

  15   engaged in, regardless of what impact -- what connection

  16   they had to your clients or even to terrorist activities.                         I

  17   guess you could say because they're a terrorist

  18   organization, everything they do -- every financial

  19   transaction they're engaged in is a terrorist transaction.

  20                MR. WERBNER:      For sure as to the designated ones

  21   for sure because that one --

  22                THE COURT:     Is that what the government has said?




               Transcription Plus II                 Rosalie Lombardi
Case 1:18-cv-02192-HG-PK   Document 86-4 Filed 04/04/22   Page 17 of 17 PageID #:
                                     2061



                                                                                    89
                                     Proceedings

   1                MR. WERBNER:      Well, Judge Gershon has said and the

   2   statute -- yes, and the government.

   3                THE COURT:     But I mean let's say --

   4                MR. WERBNER:      Because money is funded --

   5                THE COURT:     Look, Hammas is running elections, is

   6   putting up candidates for elections in --

   7                MR. WERBNER:      You cannot support -- under US law,

   8   even if they're giving it to orphans because the --

   9                THE COURT:     But why is that relevant -- forget

  10   about that.

  11                MR. WERBNER:      It is relevant to the

  12   violation --

  13                THE COURT:     Forget about that.         Why is that --

  14                MR. WERBNER:      It's a violation.

  15                THE COURT:     -- relevant to the case here?

  16                MR. WERBNER:      Because it's a violation.            You

  17   cannot -- the Congress said because money is fungible and

  18   you would be freeing up dollars, even if they used the

  19   monies and the other things for non-terrorist things by

  20   giving a designated terror group money, the money is

  21   fungible.     You are helping them -- go ahead.

  22                MR. STEINGARD:       I just want to read --




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